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-UNGLESBY
LAW FIRM

Lewis O. UncLasay¢
Barrett D, Burxary, JR,

TRIAL ATTORNEYS Lance C, UNGLESBY
Logan H, GREENBERG
September 27, 2013
Patrick Juneau, Esquire Via Email Only
Juneau David
1018 Harding Street, Suite 202 patjuneau@deepwaterhorizonclaims.com

Lafayette, LA 70505

Dear Pat:

Re: Jn Re; Oil Spill by the Oil Rig
“Deepwater Horizon” in the
Gulf of Mexico, on April 20, 2010

On behalf of AndryLemer, I request that that the Claims Administrator’s Office (CAO)
make payment to the AndryLerner clients whose claims have been finalized and are in line to be
paid. itis unfair that these AndryLemer’s clients, who have engaged in no wrongdoing, must
wait for their claims to be paid until the Show Cause Order proceedings are concluded. We
propose that payments be processed and made to these AndryLemer clients in the following

fashion:

1)

2)

3)

4)

246 Napo.son Srager
Baton Roucs, LoulstaNa 70802

AndryLerner shall present in writing to the CAO the fees due on each claim.
AndryLemer also will disclose any referral attorneys on these claims and
the percentage of their referral fee, where applicable.

Upon payment of the claim, the fees due to AndryLerner (and the referring
attorney) shall be withheld from payment to the client and held in escrow at
your office pending resolution of the Show Cause Order proceedings.

AndryLemer shall be permitted to present to the CAO for payment any
attendant costs of claims, such as forensic accounting or postage, federal
express, which will be approved and paid.

Checks to the clients, less the attorney fees and costs, shall be cut and
mailed or picked up by me and sent to the clients. Once I receive the
checks and send out proof of delivery, I will certify by affidavit submitted
to you that this has been done.

# Board Certfied—Crrmmat TRIAL Law; Nationa Boaap on Truiat Apvocacy
Board Certified—Civit Tatar Law: Nationa Boarp op TRiaL Apvocacy

(225) 387-0120 PAX (225) 336-4368 Amarican Boaao of Tria Apvacares

unglesbylaw.com

Littcation COUNSEL OF AMERICA

Offices in Baton Rouge and New Orleans, LA
Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 3 of 19

Patrick A. Juneau, Esquire
September 27, 2013
Page 2

The point of the above is to ensure that the firm’s clients are not penalized or prejudiced by
Show Cause Order proceedings. To the extent there is a controversy over AndryLemer’s fees,
those fees will be safeguarded in escrow until this is resolved.

This procedure is agreed to by AndryLemer, Glenn Lemer, and John Andry only to
facilitate payment to their clients and in no way represents any acquiescence by them that their fees
are not due and owed.

We also wish to notify you that AndryLemer intends to communicate the following to its
remaining clients by letter or posting, or both, through their website the following:

“The AndryLerner Firm, John Andry, and Glenn
Lerner are all committed to the prompt and correct
resolution of the claim you filed, They are working
to have your claims processed in the regular course
of business. As soon as this matter is resolved, you
will be advised. in the meantime, we are hopeful
that your claim will not be delayed or held up beyond
the normal expected review process.”

Thank you as always for your consideration.

Sincerely,

Linco, Unglesby

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Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 4 of 19

Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 5 of 19

Dear Mr. Unglesby:

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this brief note to summarize our proposal from that meeting.

As we discussed, we have reviewed the numerous filings by the Andry Lerner firm to lift
the stay on processing of their client's claims. We also reviewed your letter of
September 27, 2013, on this topic. Pursuant to our July 2, 2013 and September 6,
2013 mandates, we have been working with the CAO and the Court to resolve any open
issues so that proper claims are promptly paid. For claims that are ready for payment
{and any future claims that are cleared for payment), we suggested the following
procedure:

a) Andry Lerner will present written referral agreements for its DHECC cases where
there is a referral agreement.

b) Andry Lerner will present its fee agreements for all forensic accounting firms for
DHECC cases.

c) The referring attorneys and forensic accountants will agree to speak with Special
Master representative to respond to any questions the Special Master may have on
non-privileged issues.

d)} Upon payment of any claim, the fees due Andry Lerner (and the referring attorney)
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resolution of the Show Cause Order proceedings.

e) Appropriate costs can be presented by Andry Lerner to the CAO for payment.

f) Checks to the clients, less the attorney fees and costs, shall be cut and mailed or
picked up by you and sent to the Andry Lerner clients. You will certify that this process
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Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 6 of 19

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Regards,

Greg
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From: Greg Paw [mailto:paw@freehgroup.com]
Sent: Wednesday, October 23, 2013 2:51 PM
Fo: Lisa Westmoland; jcobb@alsfirm.com

Cc: Patrick Juneau

Subject: Andry Lerner Claims

Dear Sirs --

We have been discussing a procedure for payment of certain Andry Lerner claims for several weeks, without
resolution. We need to reach an agreement on this so that claimants entitled to payment are not harmed. |
have two proposals that 1 make to you, and | ask you to let me know how we can move forward as soon as you
can.

| have gone back to Mr. Unglesby original proposal of September 27, 2013, a copy of which | attach. We will
accept this proposal as written ~ no changes — and the entire attorney fee portion of any claim wiil be held in
escrow until the Court decided the Show Cause order, as Mr, Unglesby proposed at that time.

The alternative is as | proposed on October 8, 2013, a copy of which also is attached. The referring attorney
would agree to meet with us for a brief interview not touching on any attorney client issue. The portion of the
attorney fee for the referring attorney (along with the claimant) would then be released. The Andry Lerner

share of the fee would be held in escrow.

| respectfully ask you to provide us your view on these proposals as promptly as you can. | hope we can
resolve this issue promptly.

Regards,

Greg
Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 9 of 19

UNG LE S BY Lewis O. Uncressy®
LAW FIRM Barrer D, Bu RKART, JR.

TRIAL ATTORNEYS Lance C, UNGLesey
Logan H. Gaganserc

September 27, 2013
Patrick Juneau, Esquire Via Email Only
Juneau David
1018 Harding Street, Suite 202 patjuneau@deepwaterkorizonctaims.com

Lafayette, LA 70505

Re: Jn Re: Oil Spill by the Oil Rig
‘Deepwater Horizon" in the
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Baton Rouge, Lousiana 7o8o2 Board Certified—Civn, Tatat Law: Nationat Boaro op TRIAL Anvocacy
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unglesbylaw. com LivicaTION Counser of AMERICA

Offices in Baton Rouge and New Orleans, LA
Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 10 of 19

Patrick A. Juneau, Esquire
September 27, 2013
Page 2

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Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 11 of 19

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Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 12 of 19

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Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 13 of 19

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1 UNITED STATES DISTRICT COURT
BASTERN DISTRICT OF LOUISIANA
2
3 FIR TCR IG RRO RII ITO IG RIGA IO ORE BIRO ECA REGIA AGRO Doak ar kk te vem

4 IN RE: OIL SPILL BY THE
OIL RIG DEEPWATER HORIZON
5 IN THE GULF OF MEXICO ON
APRIL 20, 2010

6 CIVIL ACTION NO, 10-MD-2179 "J"
NEW ORLEANS, LOUISIANA
7 WEDNESDAY, JULY 31, 2013, 1:00 P.M.

8 THIS RELATES TO ALL CASES

g ERR RW Aa Ra a aR RRR ER RE Re Rd ROR a Ke kK

SWORN STATEMENT OF GLEN LERNER, HSQUIRE
li TAKEN BEFORE THE HONORABLE LOUIS J. FPRERH
SPECTAL MASTER

13 q APPEARANCES:

14
LOUIS J. FREEH, SPECIAL MASTER
is MATTHEW DOLAN, ESOUTRE
16
JONES WALKER
17 PAULINE F. HARDIN, ESQUIRE
JAMES E. WRIGHT, TIT, ESQUIRE
18 201 ST. CHARLES AVENUE
NEW ORLEANS LA 70170
19

OFFICIAL COURT REPORTER: CATHY PEPPER, CRR, RMR, CCR
CERTIFIED REALTIME REPORTER
REGISTERED MERTT REPORTER
500 POYDRAS STREET, ROOM HB406
NEW ORLEANS, LA 701390
(504) 589-7779
Cathy Pepper@laed.uscourts.gov

PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY. TRANSCRIPT
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104 PH

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P-B-O-C-B-E-D-T=H-G-38

WEDNESDAY, JULY 31, 2013

MR. FREEH: Good afternoon. My name is Louis Freeh
and Mr, Matt Dolan is my partner here, so we are conducting an
interview pursuant to my appointment by Judge Barbier as
Special Master to look at certain aspects of the BP claims
administration.

YOu are appearing here voluntarily today as a
witness in the company of your two attorneys. I would just ask
your attorneys to state for the record -- obviously you
represent Glen Lerner individually. Do you represent any other
parties of interest in this matter?

MS. HARDIN: WNo, we do not.

MR. WRIGHT: ‘That's correct.

MR. FREEH: Thank you very much.

Mr. Lerner, I'm working as a special master,
which is an appointment by the Court, so I'm functioning as a
quasi-judicial official in the interview. So in a moment I’m
going to place you under oath, and before I do that, I just
want to make it clear to you, I'm sure your attorneys have,
that all of my questions are asked in my capacity as
Special Master and that you're expected, obviously, to give

complete truthful answers to the best of your knowledge and

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13-3123; 13-3088
Ligon, et al. v. City of New York, et al.: Floyd, et al. v. City af New Fork, et al

United States Court of Appeals

FOR THE
SECOND CIRCUIT

Ata stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshail United States Courthouse, 40 Foley Square, in the City of New York, on the
31* day of October, two thousand thirteen.

Present:
John M, Walker, Jr.,
José A. Cabranes,
Barrington D. Parker,
Circuit Judges.

Jaenean Ligon, et al.,
Plaintiffs-A ppellees.

v. 13-3123
City of New York, et al., (Corrected)
Defendants-Appellants,

David Floyd, et al.,
Plaintiffs-Appellees.

v. 13-3088
City of New York, et al.,
Defendants-Appellants,

Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 18 of 19

Pending before the Court is a motion filed by Appeilants City of New York et al. seeking
a stay of the District Court’s August 12, 2013 remedial order and preliminary injunction
(“Remedies Opinion”).

It is hereby ORDERED that the District Court’s January 8, 2013 “Opinion and Order,” as
well as the August 12, 2013 “Liability Opinion” and “Remedies Opinion,” each of which may or
will have the effect of causing actions to be taken by defendants or designees of the District
Court, or causing restraints against actions that otherwise would be taken by defendants, are
STAYED pending the disposition of these appeals.

The appeai by defendants in both (consolidated) actions shall continue in the normal
course, under the following schedule:

Defendants shall perfect their appeals by January 24, 2014.
Plaintiffs shall file by February 28, 2014.
Defendants shall reply by March 14, 2014.

Oral argument shall be heard on a date after March 14, 2014, to be set by the Court in due
course,

The cause is REMANDED to the District Court for the sole purpose of implementation of
this Order, and the mandate shall otherwise remain with this Court until the completion of the
appeals process.

Upon review of the record in these cases, we conclude that the District Judge ran afoul of
the Code of Conduct for United States Judges, Canon 2 (“A judge should avoid im propriety and
the appearance of impropriety in all activities.”); see also Canon 3(C)(1) (“A judge shali
disqualify himself or herself in a proceeding in which the judge’s impartiality might reasonably
be questioned . , ..”), and that the appearance of impartiality surrounding this litigation was
compromised by the District Judge’s improper application of the Court's “related case rule,” see
Transfer of Related Cases, S.D.N.Y. & E.D.N.Y. Local Rule 13(a),! and by a series of media

‘ina proceeding on December 21, 2007 involving the parties in Daniets v. City af New York, No. 99 Civ.
1695 (S.D.N.Y. filed Mar. 8, 1999), the District Judge stated, “[I]f you got proof of inappropriate racial profiling in
a good constitutional case, why don’t you bring a lawsuit? You can certainly mark it as related.” She also stated,
“[W Jhat | arn trying to say, | am sure | am going to get in trouble for saying it, for $65 you can bring that lawsuit."
She concluded the proceeding by noting, “And as | said before, | would accept it as a related case, which the
plaintiff has the power to designate.”’ Two of the attorney groups working on behalf of plaintiffs in Daniels, a case

2
Case 2:10-md-02179-CJB-DPC Document 11830-3 Filed 11/08/13 Page 19 of 19

interviews and public statements purporting to respond publiciy to criticism of the District
Court?

Accordingly, we conclude that, in the interest, and appearance, of fair and impartial
administration of justice, UPON REMAND, these cases shall be assigned to a different District
Judge, chosen randomly under the established practices of the District Court for the Southern
District of New York. This newly-designated District Judge shall implement this Court’s
mandate staying all proceedings and otherwise await further action by the Court of Appeals on
the merits of the ongoing appeals.

In taking these actions, we intimate no view on the substance or merits of the pending
appeals, which have yet to be fully briefed and argued.

The mandate shall ISSUE FORTH WITH for the sole purpose of implementation of this
Order and shali otherwise remain in this Court.

In the interest of judicial economy, any question, application, or further appeal regarding
the scope of this Order or its implementation shall be directed to this panei, which will hear the
case on the merits in due course.

FOR THE COURT:
Catherine O’ Hagan Wolfe, Clerk

challenging the New York Police Department's stop-and-frisk practices, helped file Floyd the next month. See
generally Joseph Goldstein, A Court Rule Directs Cases Over Friskings to One Judge, N.Y. Times, May 5, 2013.

* See, e.g., Mark Hamblett, Stop-and-Frisk Judge Relishes her Independence, N.Y. Law Journal, May 5,
2013; Larry Neumeister, NY “Frisk” Judge Calls Criticism “Below-the-Beilt,” The Associated Press, May 19, 2013;
Jeffrey Toobin, 4 Judge Takes on Stop-and-Frisk, The New Yorker, May 27, 2013.

3
